      Case3:05-cr-00117-PJH
     Case  4:05-cr-00117-PJH Document
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 4
     Attorney for Defendant
 5   DAVID DOMINGUEZ
 6                                          UNITED STATES DISTRICT COURT
 7                                       NORTHERN DISTRICT OF CALIFORNIA
 8                                                SAN FRANCISCO DIVISION
 9
     UNITED STATES OF AMERICA,                                                Case No. CR 05 00117 PJH (JCS)
10
                         Plaintiff,
11                                                                            STIPULATION AND (PROPOSED)
        v.                                                                    ORDER EXONERATING BOND AND
12                                                                            RECONVEYING PROPERTY
     DAVID DOMINGUEZ
13
                         Defendant.
14                                                              /
15
               In custody defendant DAVID DOMINGUEZ, by and through his counsel Michael
16
     Hinckley and Assistant United States Attorney David Hall, hereby stipulate and agree that the
17
     bond in the above-entitled matter be exonerated and the properties posted be reconveyed.
18
     SO STIPULATED:
19
     DATED:              ______9/20/06_____                                   ___________/s/___________________
20                                                                            MICHAEL L. HINCKLEY
                                                                              Attorney for Defendant
21                                                                            DAVID DOMINGUEZ
22   DATED:              ______9/20/06_____                                   _________/s/_____________________
                                                                              DAVID HALL
23                                                                            Assistant United States Attorney
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     IT IS SO ORDERED.
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                                                                                      ED




                                                                                                                      RT
                                                                                  UNIT




25   DATED:               September 21, 2006
                         _________________                                    ______________________________
                                                                                                                            R NIA




                                                                              HON. JOSEPH C. SPERO    . Spero
                                                                                              Joseph C
                                                                                   NO




26                                                                            United States
                                                                                         JudgeMagistrate      Judge
                                                                                                                            FO
                                                                                   RT




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28
     U.S. v. DAVID DOMINGUEZ
     Stip. & [Proposed] Order To Exonerate Bond and Reconvey Property
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